Citation Nr: 1413851	
Decision Date: 03/31/14    Archive Date: 04/10/14

DOCKET NO.  06-28 802	)	DATE
	)

On appeal from the
Department of Veterans Affairs Regional Office in Houston, Texas


THE ISSUE

Entitlement to an effective date earlier than June 15, 2005, for the grant of service connection for posttraumatic stress disorder (PTSD).


REPRESENTATION

Veteran represented by:	Disabled American Veterans


WITNESS AT HEARING ON APPEAL

The Veteran and his spouse




ATTORNEY FOR THE BOARD

Robert R. Watkins, General Attorney


INTRODUCTION

The Veteran served on active duty from February 1983 to February 1991.

This matter was originally before the Board of Veterans' Appeals (Board) on appeal from a May 2006 decision of the Waco, Texas, Department of Veterans Affairs (VA) Regional Office (RO).  In May 2011, the Veteran appeared at a hearing before a Veterans Law Judge (VLJ).  In August 2011, the Board issued a decision that denied the claim of entitlement to an effective date earlier than June 15, 2005, for the grant of service connection for posttraumatic stress disorder (PTSD).


ORDER TO VACATE

The Board may vacate an appellate decision at any time upon request of the appellant or his or her representative, or on the Board's own motion, when an appellant has been denied due process of law.  38 U.S.C.A. § 7104(a) (West 2002); 38 C.F.R. § 20.904 (2013).    

In September 2013, pursuant to a settlement agreement in the case of National Org. of Veterans' Advocates, Inc. v. Secretary of Veterans Affairs, 725 F.3d 1312 (Fed. Cir. 2013), the Board sent the Veteran a letter notifying him of an opportunity to receive a new decision from the Board that would correct any potential due process error relating to the duties of the VLJ that conducted the May 2011 hearing.  See Bryant v. Shinseki, 23 Vet. App. 488 (2010) (holding that the requirements of 38 C.F.R. § 3.103(c)(2) apply to a hearing before the Board and that a VLJ has a duty to explain fully the issues and to suggest the submission of evidence that may have 

been overlooked).  In September 2013, the Veteran responded that he wished to have the prior decision vacated and a new one issued in its place.

Accordingly, the August 2011 Board decision is vacated.  
 



	                        ____________________________________________
	D. C. SPICKLER
	Veterans Law Judge, Board of Veterans' Appeals




